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BRIAN CUMMINGS
Licensed to practice in                                  December 30, 2016
TN, GA, FL, CA and HI

                             VIA U.S. CERTIFIED MAIL - RETURN RECEIPT
BRIAN MANOOKIAN
Licensed to practice in TN   Dr. Clark Archer, ER Physician
                             TriStar StoneCrest
                             200 StoneCrest Boulevard
                             Smyrna, TN 37167

                                    Re: Notice Required by Tenn. Code Ann.§ 29-26-12l(a)

                             Dear Dr. Archer:

                                     Brian Cummings and I represent John Ruffino and Martha Ruffino.
                             We are their authorized agents. Through me and Mr. Cummings, Mr.
                             Ruffino is asserting claims for healthcare liability against you. Martha
                             Ruffino is Mr. Ruffino's wife, and she gives notice of her loss of consortium
                             claim as that injury and damages were caused by the same health care
                             negligence/malpractice referenced herein. I am hereby providing you
                             notice under Tenn. Code Ann.§ 29-26-121(a).

                                     The claims arise out of care provided to John Ruffino by and on
                             behalf of Dr. Archer and his failure to diagnose and treat Mr. Ruffino's
                             February 2016 stroke in the ER at StoneCrest Medical Center, including
                             when he presented to StoneCrest Medical Center well within three hours of
                             the onset of his change in status due to the stroke. Further, John Ruffino
                             and Martha Ruffino seek all damages available in a health care liability
                             action in Tennessee.

                                     The full name and date of birth of the patient whose treatment is at
                             issue 1s:
45 Music Square West
Nashville, TN 37203                                         John Ruffino
T 615.266.3333
                                                             06-12-1959
F 615.266.0250

                                    The name and address of the claimants authorizing notice are:
Pauahi Tower
1003 Bishop St.
Suite 2710                                             John & Martha Ruffino
Honolulu, HI 96813
                                                       1206 South Sixth Street
T 808.444.4800                                                                                EXHIBIT
F 808.444.4888                                          Mayfield, KY 42066
                                                                                                  1A
www.cmtriallawyers.com


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